     Case 4:05-cr-40022-JPG           Document 140 Filed 11/08/06              Page 1 of 1      Page ID
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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA                               )
                                                       )
       PLAINTIFF,                                      )
                                                       )
       VS.                                             ) NO. 05-CR-40022-JPG
                                                       )
DEVERON MARK MURPHY,                                   )
                                                       )
       DEFENDANT.                                      )


                                     MEMORANDUM AND ORDER

       This matter before the Court on defendant Deveron Mark Murphy’s motion for in forma pauperis

status with respect to a motion he intends to file under 28 U.S.C. § 2255 (Doc. 139). Murphy pled guilty to

one count of conspiring to manufacture and possess with intent to distribute methamphetamine on September

12, 2005. He believes he will need transcripts from his plea in his § 2255 proceeding.

       The Court cannot grant Murphy’s motion at this time. First, the Court notes that there is no fee to file

a § 2255 motion, so Murphy has no need of pauper status for that purpose. Second, the Court will not

authorize pauper status for free transcripts unless the defendant can demonstrate that his suit is not frivolous

and that the transcript is needed to decide an issue presented by the suit. See 28 U.S.C. § 753(f). Since

Murphy has not yet filed a § 2255 motion, the Court cannot determine whether he can satisfy this standard.

Third, should Murphy seek pauper status in connection with a § 2255 motion, he must file his motion for

leave to proceed in forma pauperis in that case, not in his criminal case. For these reasons, the Court

DENIES the motion for leave to proceed in forma pauperis (Doc. 139) without prejudice to refiling another

properly supported motion in a § 2255 proceeding.


       DATED: November 8, 2006

                                               s/ J. Phil Gilbert
                                               J. PHIL GILBERT, DISTRICT JUDGE
